[Cite as State v. Smith, 2023-Ohio-1504.]

                             IN THE COURT OF APPEALS OF OHIO
                                FOURTH APPELLATE DISTRICT
                                       ROSS COUNTY


STATE OF OHIO,                                   :

        Plaintiff-Appellant,                     :   Case No.   22CA21

        v.                                       :

CULLEY G. SMITH,                                 :   DECISION AND JUDGMENT ENTRY

        Defendant-Appellee.                      :

________________________________________________________________

                                            APPEARANCES:

Carrie L. Charles, Ross County Assistant Prosecuting Attorney,
Chillicothe, Ohio, for appellant.

Max Hersch, Assistant State Public Defender, Columbus, Ohio, for
appellee.
________________________________________________________________
CRIMINAL APPEAL FROM COMMON PLEAS COURT
DATE JOURNALIZED:5-1-23
ABELE, J.

        {¶1}     This is an appeal from a Ross County Common Pleas

Court judgment that granted a motion to dismiss an indictment

based upon the failure to bring Culley Smith, defendant below

and appellee herein, to trial within the statutory speedy-trial

time frame.

        {¶2}     The State of Ohio, plaintiff below and appellant

herein, assigns the following errors for review:
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           FIRST ASSIGNMENT OF ERROR:

           “THE TRIAL COURT ERRED WHEN IT GRANTED
           APPELLEE’S MOTION TO DISMISS BY RULING TIME
           WAS NOT TOLLED PURSUANT TO R.C. 2945.71 FROM
           APRIL 12, 2021 UNTIL SEPTEMBER 24, 2021.”

           SECOND ASSIGNMENT OF ERROR:

           “THE TRIAL COURT’S DECISION GRANTING
           APPELLEE’S MOTION TO DISMISS WAS NOT
           SUPPORTED BY COMPETENT, CREDIBLE EVIDENCE.”

    {¶3}   The present appeal concerns appellee’s right to a

speedy trial.    On March 6, 2020, a Ross County Grand Jury

returned an indictment that charged appellee with three counts

of aggravated vehicular assault, in violation of R.C. 2903.08.

Appellee’s arrests occurred on March 21, 2020, and his release

on his own recognizance on March 23, 2020.     The trial court

later scheduled the matter for a November 17, 2020 jury trial.

    {¶4}   On October 28, 2020, appellant filed a motion to

continue the trial.     On February 4, 2021, the trial court

granted the motion to continue the trial and scheduled the

matter for an April 13, 2021 jury trial.     The court also noted

that speedy-trial time would be tolled.

    {¶5}   On April 12, 2021, the trial court visiting judge

recused himself from the case and vacated the April 13, 2021

trial date.     The court stated that “Defendant’s speedy trial

deadline is tolled by a previous entry.”     This document bears a
                                                                    3
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stamp that indicates “filed with the judge of the Ross County

Common Pleas Court.”

    {¶6}   On August 20, 2021, the Ohio Supreme Court assigned a

second visiting judge to preside over the case.     On August 23,

2021, the court scheduled a September 24, 2021 status

conference.    On September 24, 2021, the trial court issued an

order and noted that the parties discussed whether the April to

September 2021 delay posed a speedy-trial issue and gave

appellee an opportunity to file a motion to dismiss.     The

court’s entry stated that the April 12, 2021 entry had been

“received but not filed on April 12, 2021.”   Additionally, on

September 27, 2021, the second visiting judge noted that he had

a conflict that required recusal and ordered the court

administrator to contact the Ohio Supreme Court to appoint a new

judge.

    {¶7}   On October 8, 2021, appellee filed a motion to dismiss

and asserted that the first visiting judge did not file the

entry of recusal with the clerk’s office and the entry was not

“filed or docketed with the Court in any manner.”     He also

asserted that 167 speedy-trial days elapsed through April 2021,

but the days that have since elapsed should not be excluded from

the speedy-trial date count.   Appellee contended that, before
                                                                     4
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the April 2021 status conference, his trial counsel learned that

the first visiting judge planned to recuse himself and the

status conference and jury trial would not occur as scheduled.

Appellee argued that neither the court nor the state took

further action until the second visiting judge held a September

24,2021 status conference.   Appellee claimed “nothing [was]

docketed, signed, journalized, or filed in this matter until

September 2021, well outside the time limits of speedy trial.”

    {¶8}   Appellant, however, asserted that the first visiting

judge prepared an entry and placed it in the file, but it may

not have been properly docketed due to an internal office error.

The state nonetheless argued that the speedy-trial clock

remained tolled due to the absence of a judge to preside over

the case because it had no “practical ability” to bring appellee

to trial until a new judge had been assigned.

    {¶9}   In his response brief, appellee continued to assert

that the first visiting judge’s April 12, 2021 entry had not

been filed until five months after the fact.

    {¶10} On April 4, 2022, the Ohio Supreme Court assigned a

third visiting judge to hear the case.   On June 21, 2022, the

court granted appellee’s motion to dismiss the indictment.     The

court found that the indictment was filed on March 6, 2020, the
                                                                   5
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defendant arraigned on March 23, 2020, the case set for trial on

April 13, 2021, then on April 12, 2021 the judge recused himself

and vacated the trial date.   The court found, however, that the

April 12, 2021

    entry was not filed or docketed in any manner until
    nearly five months later. There is no reason given in
    the entry for the continuance aside from the retirement
    of the assigned Judge.    There is no mention of the
    reasonableness of the continuance. There is no mention
    of any of the tolling provisions of R.C. 2945.72, no
    mention of speedy trial whatsoever.

The court found that the first visiting judge “failed to enter

an order of continuance and the reason therefor by journal entry

prior to the expiration of the time limit prescribed by R.C.

2945.71” in accordance with State v. Mincy, 2 Ohio St.3d 6, 441

N.E.2d 571 (1982), and State v. King, 70 Ohio St.3d 158, 637

N.E.2d 903 (1994) and dismissed the indictment.   This appeal

followed.

                                 A

    {¶11} For ease of discussion, we combine our review of

appellant’s two assignments of error.   Appellant asserts that

the trial court incorrectly concluded that the speedy-trial time

period had not been extended between April 13, 2021 and

September 24, 2021.   Appellant asserts that on April 12, 2021,

the first visiting judge filed an entry to indicate that he
                                                                   6
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recused himself from the matter, vacated the April 13, 2021

trial date, and stated that the speedy-trial clock remained

tolled.   Appellant further points out that the April 12, 2021

entry’s stamp states that the entry was “filed with the judge of

the Ross County Common Pleas Court” and “acknowledges same had

not been docketed with the Clerk of Courts.”   Appellant

nevertheless contends that the court’s entry properly extended

the speedy-trial time period.

    {¶12} Appellee, on the other hand, asserts that the April

12, 2021 entry did not extend the speedy-trial time period

because it had not been docketed until five months later.

Appellee contends that, even if the court timely prepared the

entry, the clerk had not docketed the entry before the speedy-

trial deadline expired.

                                 B

    {¶13} “Review of a speedy-trial claim involves a mixed

question of law and fact.   Therefore, we defer to the trial

court’s factual findings if they are supported by competent,

credible evidence, but we review the application of the law to

those facts de novo.” State v. Long, 163 Ohio St.3d 179, 2020-

Ohio-5363, 168 N.E.3d 1163, ¶ 15; accord State v. Howerton, 4th

Dist. Lawrence No. 20CA2, 2021-Ohio-913, ¶ 11; State v. Spencer,
                                                                   7
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2017-Ohio-456, 84 N.E.3d 106, ¶ 16 (4th Dist.); State v. Brooks,

2018-Ohio-2210, 114 N.E.3d 220, ¶ 21 (4th Dist.).

                                C

    {¶14} Criminal defendants are guaranteed the right to a

speedy trial under the Ohio and United States Constitutions.

Sixth Amendment to the U.S. Constitution (an “accused shall

enjoy the right to a speedy and public trial”); Ohio

Constitution, Article I, Section 10 (an accused has the right to

“a speedy public trial by an impartial jury”).   The speedy-trial

guarantee “minimize[s] the possibility of lengthy incarceration

prior to trial,” “reduce[s] the lesser, but nevertheless

substantial, impairment of liberty imposed on an accused while

released on bail,” and “shorten[s] the disruption of life caused

by arrest and the presence of unresolved criminal charges.”

United States v. MacDonald, 456 U.S. 1, 8, 102 S.Ct. 1497, 71

L.Ed.2d 696 (1982); accord State v. Triplett, 78 Ohio St.3d 566,

568, 679 N.E.2d 290 (1997).

    {¶15} Ohio’s speedy trial provisions, R.C. 2945.71 to

2945.73, “constitute a rational effort to enforce the

constitutional right to a public speedy trial of an accused

charged with the commission of a felony or a misdemeanor.”

State v. Pachay, 64 Ohio St.2d 218, 416 N.E.2d 589 (1980),
                                                                    8
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syllabus; accord State v. Martin, 156 Ohio St.3d 503, 2019-Ohio-

2010, 129 N.E.3d 437, ¶ 15; State v. Parker, 113 Ohio St.3d 207,

2007-Ohio-1534, 863 N.E.2d 1032, ¶ 11; Brecksville v. Cook, 75

Ohio St.3d 53, 55, 661 N.E.2d 706 (1996); see Barker v. Wingo,

407 U.S. 514, 523, 92 S.Ct. 2182, 33 L.Ed.2d 101 (1972) (states

“are free to prescribe a reasonable period consistent with

constitutional standards”).    To that end, R.C. 2945.71

designates specific time requirements for the state to try an

accused.   State v. Hughes, 86 Ohio St.3d 424, 425, 715 N.E.2d

540 (1999).    As relevant in the case at bar, R.C. 2945.71(C)(2)

requires a person accused of a felony to be brought to trial

within 270 days of the individual’s arrest.

    {¶16} Generally, the 270-day speedy trial time period clock

begins the day after a defendant’s arrest.    State v. Davis, 4th

Dist. Scioto No. 12CA3506, 2013–Ohio–5311, ¶ 21, citing R.C.

1.14 and Crim.R. 45(A) (“When computing how much time has run

against [the state] under R.C. 2945.71, we begin with the day

after the date [the defendant] was arrested”).    Also, “For

purposes of calculating speedy-trial time, ‘each day during

which the accused is held in jail in lieu of bail on the pending

charge shall be counted as three days.’”     State v. Ramey, 132
                                                                    9
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Ohio St.3d 309, 2012-Ohio-2904, 971 N.E.2d 937, ¶ 15, quoting

R.C. 2945.71(E).

    {¶17} R.C. 2945.72 specifies the circumstances that may

extend the 270-day period.   Id. at ¶ 24.   As relevant in the

case at bar, R.C. 2945.72(H) states that “the period of any

reasonable continuance granted other than upon the accused’s own

motion” extends the 270-day time period.

    {¶18} In general, courts must “strictly construe the speedy

trial statutes against the state,” Brecksville v. Cook, 75 Ohio

St.3d 53, 57, 661 N.E.2d 706 (1996), and must “strictly enforce

the legislative mandates evident in these statutes.”    Pachay, 64

Ohio St.2d at 221; e.g., State v. Parker, 113 Ohio St.3d 207,

2007-Ohio-1534, 863 N.E.2d 1032, ¶ 15.   Consequently, “[t]he

prosecution and the trial courts have a mandatory duty to try an

accused within the time frame provided by the statute.”     Ramey

at ¶ 14.   If an accused is not brought to trial within the time

limits set forth in the speedy-trial statutes, and if an

exception does not apply, R.C. 2945.73(B) requires the court,

upon motion at or before trial, to discharge the accused.

    {¶19} In the case sub judice, the parties dispute whether

the trial court’s April 12, 2021 entry extended the 270-day

period to bring appellee to trial.   Appellant argues that after
                                                                   10
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the first visiting judge filed the April 12, 2021 entry to

recuse himself, the speedy-trial time was extended until

September 24, 2021, the date of the second visiting judge’s

status conference.   Appellant contends that, as of the date that

the second visiting judge recused himself, September 27, 2021,

only 197 speedy-trial days had elapsed.   Appellant further

asserts that speedy-trial time remained tolled until the third

visiting judge ruled on appellee’s motion.   Appellant therefore

argues that the 270-day period did not expire.

    {¶20} Appellee counters that, because the court did not

docket the trial court’s April 12, 2021 entry until five months

later, the first visiting judge’s entry did not comply with the

requirement that an entry that extends speedy-trial time must be

journalized before the 270-day period expires.    As such, he

argues that because the 166 days that elapsed between April 12,

2021 and September 24, 2021 do not fall within one of the

exceptions to extend speedy-trial time, well over 270 days

elapsed by the time of the second visiting judge’s September 27,

2021 recusal.

    {¶21} To support his argument, appellee relies upon State v.

Mincy, 2 Ohio St.3d 6, 441 N.E.2d 571 (1982), and State v. King,

70 Ohio St.3d 158, 637 N.E.2d 903 (1994).    In Mincy, the court
                                                                    11
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held that when a trial court sua sponte continues a criminal

trial, the court “must enter the order of continuance and the

reasons therefor by journal entry prior to the expiration of the

time limit prescribed in R.C. 2945.71 for bringing a defendant

to trial.”    Id. at syllabus.   In Mincy, on the date the case had

been scheduled for trial court personnel contacted the

defendant’s trial counsel to inform counsel that the trial would

not be held as scheduled.    Also, the court did not file a

journal entry to explain a reason for the continuance.    At the

time, the defendant had been incarcerated for 87 days.

     {¶22} On the defendant’s 94th day of confinement, the trial

court held a scheduling conference and scheduled the trial to be

held 6 days later, on the defendant’s 100th day of confinement.

Before trial, the defendant moved to dismiss the indictment

based upon the state’s failure to bring him to trial within the

speedy-trial time period.    The trial court, however, overruled

the motion.    Subsequently, a jury found the defendant guilty and

he appealed the decision that overruled his motion to dismiss.

The appellate court concluded that the defendant did not receive

a speedy trial and reversed the trial court’s judgment.       The

state then appealed to the Ohio Supreme Court.
                                                                     12
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     {¶23} After review, the Ohio Supreme Court affirmed the

appellate court’s decision and judgment.    The court

characterized the issue as “whether a trial court may wait until

after the expiration of the statutory time within which a

criminal defendant must be brought to trial to file its journal

entry continuing the case and setting forth the reasons for

granting the continuance.”    Id. at 7.   The court noted that its

previous decisions had upheld sua sponte continuances as

reasonable, but further pointed out that in those prior cases,

“the continuances were made by journal entry prior to the

expiration of the time limit in R.C. 2945.71.”     Id. at 8.      Thus,

the court rejected the state’s argument that “because the trial

was set within the ninety day period and the continuance was

reasonable, no violation of R.C. 2945.71 occurred even though no

entry had been made prior to the expiration of the ninetieth

day.”   Id.   The court explained that it had “previously

condemned after-the-fact extension and does not find it to be a

meaningful distinction that [the defendant’s] trial was

initially scheduled within the statutory time limit.”       Id.

Consequently, the court held: “Since a court may only speak

through its journal, it is necessary that such an entry be
                                                                    13
ROSS, 22CA21


spread upon its journal prior to the expiration of the statutory

time limit.”   Id. (citations omitted).

    {¶24} In King, the court reaffirmed Mincy that when a trial

court sua sponte continues a criminal trial, it must enter the

continuance order and state the reasons for the continuance

before speedy-trial time expires.     Id. at 163.   In King, the

trial court sua sponte continued the defendant’s trial “without

recording a judgment entry explaining the reasons for continuing

the trial beyond the expiration of the ninety-day period.”        Id.

at 162.   Instead, the trial judge’s secretary sent the parties

notice of the new trial date.     The court reasoned that the

secretary’s notice was ineffective because “[i]t is axiomatic

that ‘[i]n Ohio a court speaks through its journal.’”      Id.,

quoting State ex rel. Worcester v. Donnellon, 49 Ohio St.3d 117,

118, 551 N.E.2d 183 (1990).     The court thus concluded that trial

courts must journalize sua sponte continuances before speedy-

trial time expires.

    {¶25} More recently, the Ohio Supreme Court discussed

Mincy’s requirements as follows:

         Ideally, “[w]hen sua sponte granting a continuance
    under R.C. 2945.72(H), the trial court must enter the
    order of continuance and the reasons therefor by journal
    entry prior to the expiration of the time limit
    prescribed in R.C. 2945.71 for bringing a defendant to
    trial.”
                                                                  14
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Ramey at ¶ 32, quoting Mincy, syllabus.   The Ramey court noted

that it had “[o]n several occasions, * * * found it necessary to

address trial courts’ imperfect handling of continuances under

R.C. 2945.72(H).”   Id. at ¶ 33, citing State v. McRae, 55 Ohio

St.2d 149, 152, 378 N.E.2d 476, 477 (1978).   The court stated

that in these imperfect situations, “an appellate court may

affirm a conviction challenged on speedy-trial grounds even if

the trial court did not expressly enumerate any reasons

justifying the delay when the reasonableness of the continuance

is otherwise affirmatively demonstrated by the record.”1   Id.;

State v. Lee, 48 Ohio St.2d 208, 210, 357 N.E.2d 1095 (1976)

(“[t]he record of the trial court must in some manner

affirmatively demonstrate that a sua sponte continuance by the

court was reasonable in light of its necessity or purpose”).

     {¶26} In Lee, for example, the court stated that when a

court, by entry before the speedy-trial time expires, lists a


     In State v. Belville, ___ Ohio St.3d ___, 2022-Ohio-3879, ___
N.E.3d ___, the court rejected the defendant’s argument that R.C.
2945.72(E), which tolls the speedy-trial clock for “[a]ny period
of delay necessitated by reason of a * * * motion, proceeding, or
action made or instituted by the accused,” required trial courts
to “contemporaneously announce that a tolling event is taking
place.” Id. at ¶ 31. The court stated that the plain language of
the statute only requires “that the delay be necessitated by the
defendant’s action.” Id.
                                                                   15
ROSS, 22CA21


reason for the continuance and notifies the defendant and the

defendant’s counsel of the continuance, entry, and reasons, then

“the reasonableness of the extension cannot be seriously

questioned and is satisfactorily evidenced by the failure of the

defendant to object and to assert persuasively his basis for a

contrary conclusion.”   Id. at 210.

    {¶27} Additionally, in State v. Martin, 56 Ohio St.2d 289,

384 N.E.2d 239 (1978), the court held that a trial court’s sua

sponte continuance entry, filed as an App.R. 9(E) supplement to

the record, adequately demonstrated the reasonableness of the

continuance.   In that case, the defendant was arrested and

waived the Crim.R. 5 time frame to hold a preliminary hearing.

The court scheduled a preliminary hearing and, upon defense

counsel’s request, later reset the hearing.   Some witnesses did

not appear, however, so the court rescheduled the hearing.

Eventually, the court held the preliminary hearing, found

probable cause, and ordered the defendant remain incarcerated

pending further action from the grand jury.   The court then held

a jury trial and the jury found the defendant guilty.   The

defendant appealed the trial court’s decision.

    {¶28} During the pendency of the appeal, the trial court

filed an App.R. 9(E) supplemental entry that recited the reasons
                                                                     16
ROSS, 22CA21


for continuing the preliminary hearing (crowded docket * * * and

due to the expected length of the preliminary hearing).”     Next,

the entry observed that defense counsel asked the court to

continue the preliminary hearing.   The entry, however, did not

mention the reason for further continuing the hearing, but the

trial court record indicated that it had been continued because

witnesses did not appear.   The appellate court reversed the

trial court’s judgment and determined that the trial occurred

beyond the speedy-trial time limit.    The state appealed to the

Ohio Supreme Court.

    {¶29} After review, the Ohio Supreme Court reversed the

appellate court’s judgment and determined that the defendant’s

waiver of the Crim.R. 5 time frame and the trial court’s

continuances extended the speedy-trial time until the date of

the preliminary hearing.    In doing so, the court noted that a

trial court’s sua sponte continuance extends speedy-trial time

so long as the record demonstrates “the ‘necessity and

reasonableness of the continuance.’”    Martin, 56 Ohio St.2d at

293, quoting State v. Wentworth, 54 Ohio St.2d 171, 176, 375

N.E.2d 424 (1978).    The court further observed that “‘[m]ere

entries by the trial court’ would satisfy the statutory

requirement ‘when the reasonableness of the continuance cannot
                                                                    17
ROSS, 22CA21


be seriously questioned.’”    Id., quoting Lee, 48 Ohio St.2d at

209.    The court thus applied these principles and concluded that

the continuances of the preliminary hearing were both “good

cause” under Crim.R. 5 and “reasonable” under R.C. 2945.72(H).

The court noted that the defendant agreed to waive the Crim.R. 5

time period and that the court set the preliminary hearing to be

held within a reasonable amount of time, given the court’s

crowded docket and the anticipated length of the preliminary

hearing.    Additionally, defense counsel requested an additional

continuance that further extended the speedy-trial time period.

Next, the court sua sponte continued the preliminary hearing

when some witnesses did not appear as scheduled.

       {¶30} The court concluded that the record and the

supplemental journal entry showed that the delay in holding the

preliminary hearing was reasonable and that the time that

elapsed during this period, therefore, did not count for

purposes of computing speedy-trial time.

       {¶31} Admittedly, Martin explicitly expressed displeasure

with the use of a “supplemental journal entry * * * to explain

the ‘reasonableness’” of the continuances Id. at 295.      The court

cautioned that it did not intend “to advocate the use of this

procedural tool as a substitute for a lower court affirmatively
                                                                      18
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demonstrating the reasonableness of an extension pursuant to

R.C. 2945.72(H) in the first place.”     Id.   The court explained:

      It is imperative that the trial courts in this state
      conscientiously strive to perform their statutory duties
      by   stating   the   circumstances   surrounding   these
      continuances so as not to preclude effective appellate
      review. The necessity and purpose of such an extension
      should be clearly reflected from the record at the time
      it was granted.

Id.
      {¶32} Despite these cautions, the Martin court nevertheless

concluded that the record and the supplemental journal entry

adequately demonstrated the reasonableness of the trial court’s

continuance.     We also note that Martin has not been overruled.

      {¶33} We fully recognize that the events that occurred in

the case sub judice are unusual.    Appellee’s arrest occurred on

March 21, 2020, six days before the Ohio Supreme Court’s first

order that acknowledged Am.Sub. HB 197 that tolled all time

limitations and deadlines in the Revised Code.     Obviously,

during the ensuing months, courts had to confront extraordinary

circumstances.    Nevertheless, in the case at bar the docket

sheet indicates that the trial court’s entry to continue the

April 13, 2021 trial date was filed on April 12, 2021.     Yet, the

third visiting judge found, and appellee insists, that this

entry was not filed until five months later.     Appellant’s
                                                                      19
ROSS, 22CA21


memorandum contra to appellee’s motion to dismiss also suggests

some type of internal office error may have occurred when filing

the entry.     In any event, we believe that Ramey, Lee, and Martin

support the conclusion that the record before us demonstrates

the necessity and reasonableness of the continuance.      Ramey

instructs that “the determination of reasonableness must be made

on the existing record.”     Id. at ¶ 34.   In the case at bar, the

record, as it currently exists, contains an April 12, 2021 entry

that (1) states that the first visiting judge recused himself

from presiding over the trial, (2) vacated the trial date, and

(3) provided that speedy-trial time remained tolled.      This entry

is listed on the court’s docket sheet as filed on April 12,

2021.   Thus, according to the docket sheet, this entry, docketed

on April 12, 2021, tolled the speedy trial time before speedy-

trial time expired.    Therefore, based upon our review of the

existing record, the trial court entered the April 12, 2021

entry before the expiration of appellant’s speedy-trial time.

We are unable to locate anything in the record to support the

assertion that the April 12, 2021 entry was not docketed.     The

parties did not point to anything in the record, other than

unsupported assertions, to demonstrate that the April 12, 2021

entry was not filed until five months after the fact.
                                                                    20
ROSS, 22CA21


    {¶34} Furthermore, we believe that the trial court’s sua

sponte continuance was reasonable.    The court’s entry states

that the trial judge recused himself.    A trial judge’s recusal

constitutes reasonable cause to continue a trial.    See State v.

Nichols, 4th Dist. Adams No. 12CA955, 2013-Ohio-308, ¶ 21,

citing Lyndhurst v. Di Fiore, 8th Dist. No. 88654, 2007–Ohio–

3538, ¶ 10.    Moreover, using Martin’s logic, even if some

procedural irregularity occurred when filing the April 12, 2021

entry, this entry is part of the record on appeal and the

clerk’s docket sheet indicates that it was filed April 12, 2021.

Therefore, we believe that we may properly consider this entry

when we ascertain the reasonableness of the continuance.      See

Craig v. Welply, 104 Ohio St. 312, 315, 136 N.E. 143 (1922)

(“the court speaks by its journal, and * * * the date of the

judgment is the date of its entry upon the journal of the

court”).

    {¶35} Additionally, we do not believe that our decision

conflicts with either Mincy or King.    In those cases, the record

did not contain any documents that revealed the reasons the

trial courts continued the matters.    In the case at bar, by

contrast, the record contains an entry that expressly reveals

the reason that the trial court continued the trial, and the
                                                                  21
ROSS, 22CA21


docket sheet indicates that it was filed before the speedy-trial

time expired.

    {¶36} Consequently, based upon our review of the record, we

believe that the trial court’s April 12, 2021 sua sponte

continuance extended the time period within which the state must

bring appellee to trial.   Therefore, we agree with appellant

that the speedy-trial clock tolled between April 12, 2021 and

September 24, 2021.

    {¶37} Accordingly, based upon the foregoing reasons, we

sustain appellant’s assignments of error, reverse trial court’s

judgment and remand the matter for further proceedings

consistent with this opinion.

                                    JUDGMENT REVERSED AND CAUSE
                                    REMANDED FOR FURTHER
                                    PROCEEDINGS CONSISTENT WITH
                                    THIS OPINION.
                                                               22
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JUDGMENT ENTRY

     It is ordered that the judgment be reversed and the case
remanded for further proceedings consistent with this opinion.
Appellant shall recover of appellee the costs herein taxed.
     The Court finds there were reasonable grounds for this
appeal.
     It is ordered that a special mandate issue out of this
Court directing the Ross County Common Pleas Court to carry this
judgment into execution.
     If a stay of execution of sentence and release upon bail
has been previously granted, it is continued for a period of 60
days upon the bail previously posted. The purpose of said stay
is to allow appellant to file with the Ohio Supreme Court an
application for a stay during the pendency of the proceedings in
that court. The stay as herein continued will terminate at the
expiration of the 60-day period.
     The stay will also terminate if appellant fails to file a
notice of appeal with the Ohio Supreme Court in the 45-day
period pursuant to Rule II, Sec. 2 of the Rules of Practice of
the Ohio Supreme Court. Additionally, if the Ohio Supreme Court
dismisses the appeal prior to the expiration of said 60 days,
the stay will terminate as of the date of such dismissal.
     A certified copy of this entry shall constitute that
mandate pursuant to Rule 27 of the Rules of Appellate Procedure.

    Smith, P.J. &amp; Wilkin, J.: Concur in Judgment &amp; Opinion

                                    For the Court




    BY:__________________________
                                       Peter B. Abele, Judge




                       NOTICE TO COUNSEL
                                                                  23
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     Pursuant to Local Rule No. 14, this document constitutes a
final judgment entry and the time period for further appeal
commences from the date of filing with the clerk.
